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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP,                              )
                                              )
                 Plaintiff,                   )
                                              )
                 v.                           )   Civil Action No. 1:21-cv-2769 (TSC)
                                              )
BENNIE G. THOMPSON, et al.,                   )
                                              )
                 Defendants.                  )
                                              )

     JOINT MOTION FOR A FURTHER THIRTY DAY EXTENSION OF TIME TO
                       RESPOND THE COMPLAINT

         The parties to this matter jointly request a further thirty day extension of time for

Defendants to respond to the current Complaint.       In the absence of an extension, Defendants’

response is due Friday, February 4, 2022. The Court has granted two prior extensions of the

response time.

         The parties’ motion is supported by good cause. The Supreme Court recently denied

Plaintiff’s Application for a Stay of Mandate and Injunction Pending Review. See Order No.

21A272, 595 U.S. ___ (2022) (Jan. 19, 2022). The parties have again conferred with respect to

Defendants’ forthcoming response to the Complaint and the future of the litigation. Given the

decision from the Supreme Court and the Archivist’s subsequent production to the Select

Committee of the records at issue in this litigation, the parties agreed that the best course was to

further defer the Defendants’ response for thirty days so that Plaintiff can determine his next

steps.

         Accordingly, the parties request that the Court grant this unopposed motion for a further

thirty day extension of time, until March 7, 2022, in which to respond to the Complaint.
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Dated: Feb. 4, 2022                 Respectfully submitted,

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